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 8                     IN THE UNITED STATES DISTRICT COURT

 9                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,             No.   CR.S-03-0042 FCD

12             Plaintiff,
                                           ORDER RE DISCOVERY
13        v.

14   SHANGO JAJA GREER, et al.,

15             Defendants.

16                               /

17             On May 16, 2005, this matter came before the undersigned for

18   hearing on: (1) defendant Oscar Gonzales’ motion for an order setting

19   dates for the government to provide unredacted discovery and to modify

20   the court’s November 24, 2004, discovery order regarding discovery of

21   experts and Fed. R. Evid. 404(b) material; (2) defendant Louis

22   Walker’s motion for discovery and leave to file further motions; and

23   (3) defendant Oscar Gonzales’ motion for a bill of particulars.

24   Attorney John Philipsborn appeared on behalf of defendant Oscar

25   Gonzales; attorneys Richard Mazer and Peter Kmeto appeared on behalf

26   of defendant Shango Greer; attorney Jesse Rivera appeared on behalf of


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 1   defendant Charles White; attorney Robert Peters appeared specially for

 2   attorney Fred Dawson on behalf of defendant Elliot Cole; attorneys

 3   Robert Peters and Jan Karowsky appeared on behalf of defendant Jason

 4   Walker; and attorney Kathryn Kohlman Druliner appeared on behalf of

 5   defendant Louis Walker.         Assistant United States Attorneys R. Steven

 6   Lapham, Kenneth Melikian and Philip Ferrari appeared on behalf of the

 7   government.

 8                 At the hearing, the parties agreed to continue the hearing

 9   date on the motion for a bill of particulars.1            With respect to other

10   motions argued that day the court issued rulings from the bench with

11   all counsel agreeing that the terms of the order were understood and

12   that the oral rulings were sufficient.           Nonetheless, the court

13   indicated that a summary order would be issued.             It has come to the

14   court’s attention, however, that the summary order was never filed.

15   Accordingly, for the reasons set forth in detail on the record at the

16   hearing, the defendants’ discovery motions are granted in part.

17                 IT IS SO ORDERED.

18   DATED: September 29, 2005.

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             The hearing on that motion has subsequently been continued by
26   stipulation and order and is currently scheduled for October 12, 2005,
     at 11:30 a.m. before the undersigned.

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